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                  UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                              CR. NO. 4:23-CR-00162

                v.
                                                      (Chief Judge Brann )
MATTHEW LAMPI,
           Defendant.


                             INDICTMENT                         FILED
                                                              SCRANTON
THE GRAND JURY CHARGES:
                                                               JUN 1 3 2023
                                 COUNT 1                PER       �(_,,,
                               18 U.S.C. § 371                  DEPUTY CLERK
                                (Conspiracy)

I.   Background

     At times material to the Indictment:

     A.      Relevant Individuals and Entities

     1.      MATTHEW LAMPI resided in East Bethel, Minnesota.

     2.      Jeremy Pauley resided in Enola, Pennsylvania, and

Bloomsburg, Pennsylvania, both within the Middle District of

Pennsylvania.

     3.      The ·University of Arkansas for Medical Sciences (DAMS)

was both a hospital and a health sciences university located in Little

Rock, Arkansas.
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